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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                                                                                         June 26, 2017
                           UNITED STATES DISTRICT COURT
                                                                                      David J. Bradley, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                             §
                                                     §
v.                                                   §      CRIMINAL NO. H-16-126
                                                     §
MARIA VILLA,                                (3)      §
                             defendant.              §

                                            ORDER

       The Government's Motion to Dismiss the original indictment and superseding

information on file in this matter as it pertains to Maria Villa only is GRANTED.

SIGNED this    .ilo )1. day of ~                  , 2017.




                                             ~1.(?._~-
                                            LEE H. ROSENTHAL
                                            UNITED STATES DISTRICT JUDGE
